

Matter of Yellen (2021 NY Slip Op 03793)





Matter of Yellen


2021 NY Slip Op 03793


Decided on June 11, 2021


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on June 11, 2021
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: PERADOTTO, J.P., NEMOYER, TROUTMAN, WINSLOW, AND DEJOSEPH, JJ. (Filed May 26, 2021.)


&amp;em;

[*1]MATTER OF JONATHAN H. YELLEN, A RESIGNED ATTORNEY, FOR REINSTATEMENT TO THE PRACTICE OF LAW IN THE STATE OF NEW YORK.



MEMORANDUM AND ORDER
Order entered granting application for reinstatement to the practice of law.








